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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

   TREVA THOMPSON, et al.,                      )
                                                )
                  Plaintiffs,                   )
                                                )           CIVIL ACTION NO.
           v.                                   )           2:16-cv-783-ECM-WMD
                                                )
   JOHN MERRILL, in his Official Capacity       )
   as Secretary of State of Alabama, et al.,    )
                                                )
                  Defendants.

PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO COUNT 18
      (VIOLATION OF THE NATIONAL VOTER REGISTRATION ACT)


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                   STATEMENT OF UNDISPUTED MATERIAL FACTS

       Section 177 of the Alabama State Constitution disenfranchises those “convicted of a felony

involving moral turpitude . . . until restoration of civil and political rights.” Ala. Const. VIII,

§ 177(b). Until 2017, there was “no comprehensive list of felonies that involve moral turpitude

which disqualify a person from exercising his or her right to vote,” and “[n]either individuals with

felony convictions nor election officials ha[d] a comprehensive, authoritative source for

determining if a felony conviction involves moral turpitude and is therefore a disqualifying

felony.” Ala. Stat. § 17-3-30.1(b)(1)(b). In 2017, the Alabama Legislature passed the Felony Voter

Disqualification Act, which “provide[s] a comprehensive list of acts that constitute moral turpitude

for the limited purpose of disqualifying a person from exercising his or her right to vote.” Id. § 17-

3-30.1(b)(2)(c). The felonies listed in § 17-3-30.1 are “the only felonies for which a person, upon

conviction, may be disqualified from voting.” Id. § 17-3-30.1(e).

       Even after the passage of the Felony Voter Disqualification Act, Alabama’s Mail-In Voter

Registration Form (the “State Form”) did not specify the voter eligibility requirements for people

with felony convictions. Instead, the State Form stated that each voter must “[n]ot have been

convicted of a disqualifying felony, or if [s/he has] been convicted, [s/he] must have had [his or

her] civil rights restored.” Doc. 95-1 at 6. It then required each voter to sign under penalty of

perjury the following statement: “I am not barred from voting by reason of a disqualifying felony

conviction.” Id. On March 1, 2018, Plaintiff Greater Birmingham Ministries (“GBM”) filed a

supplemental complaint alleging that the State Form violates the National Voter Registration Act

(“NVRA”) because it fails to “specif[y] each eligibility requirement.” Doc. 93 at 21 (alteration in

original) (quoting 52 U.S.C. § 20508(b)(2)(A)). Plaintiff GBM also alleged that the state-specific

instructions on the National Mail Registration Form (“Federal Form”)—which instructed Alabama



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voters that to register to vote “you must: . . . not have been convicted of a felony involving moral

turpitude (or have had your civil and political rights restored)”—violated the NVRA. Id. at 5.

Further, GBM alleged that the Secretary had failed to notify the Election Assistance Commission

(EAC) of the changes in its voter eligibility requirements pursuant to 11 C.F.R. § 9428.6after the

passage of the Felony Voter Disqualification Act. Id. at 21. Plaintiff GBM uses the State Form to

conduct its voter registration activities and specifically works to help people with felony

convictions register to vote where they are eligible. Ex. 1 (Douglas Dep.) at 33:22-38:4; 73:8-12.

       On April 11, 2018, Secretary Merrill sent the then-Executive Director of the EAC, Brian

Newby, a letter informing the EAC of the Felony Voter Disqualification Act. Plaintiffs agreed that

this action rendered their NVRA claim against Secretary Merrill moot with respect to the Federal

Form. Doc. 108 at 1 n.1.1 On July 25, 2018, staff from the EAC contacted Secretary Merrill’s

office and asked it to “advise how the Felony Voter Disqualification Act will change [Alabama’s]

existing instructions.” Ex. 2 (Packard Emails with EAC) at 7. In response, Ed Packard, who then

served as Administrator of Elections, drafted at least three versions of proposed instructions to

send the EAC. Ex. 3 (Packard Dep.) at 279:10-282:8. One version included the full list of moral

turpitude felonies, including the statutory code sections; another included the full list of moral

turpitude felonies, but without the statutory code sections; and the final version did not include the

list of moral turpitude felonies but instructed voters they must “not have been convicted of a felony

involving moral turpitude (or have had [their] civil and political rights restored)” and then referred

voters to the Secretary of State’s website for the list of moral turpitude felonies. Ex. 4 (collected

draft EAC instructions). Ed Packard sent only the latter draft—referencing the website in lieu of


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  Plaintiffs did not admit that the Federal Form complied with the requirements of the NVRA to
specify eligibility requirements but merely acknowledged that Secretary Merrill had fulfilled his
role and was no longer the proper Defendant for such a claim with respect to the Federal Form.

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the list of disqualifying felony convictions—to the Election Assistance Commission, because “it

was the decision of the team that it was more concise and pointed people to the right information

rather than being a lengthy exposé on all the crimes.” Ex. 3 (Packard Dep.) at 282:11-14. The

Federal Form now contains the precise language recommended by the Secretary of State’s office:




Ex. 5 (Federal Form) at 1.

       Around the same time, the Secretary’s office began to consider revisions to the State Form.

Ex. 3 (Packard Dep.) at 285:13-23. As of September 2018, the Secretary’s office was considering

a draft State Form that retained all of the same language but added a box stating the following:

“The Code of Alabama designates a number of felony convictions that cause a voter to be

considered ineligible to vote unless they have met certain parameters outlined in information

provided by the Alabama State Department of Corrections. For a full list of these crimes, please

visit alabamavotes.gov/felony or text MT to ALVOTE (2586837).” Ex. 6 (draft state form) at 1.

The text message option contemplated in that draft was never implemented. In March 2019, the

Secretary of State gave notice of proposed changes to the State Form, which were approved on

June 27, 2019. See Doc. 161 at ¶ 1; Doc. 171-1 at ¶ 3. The only relevant change on the new State

Form is the inclusion of a reference to the Secretary of State’s website for a list of disqualifying




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felonies in the voter declaration box. The relevant portions of the State Form now appear as

follows:




Ex. 7 (2019 State Form) at 1. Nothing on the State Form specifies which felony convictions are

disqualifying.

                                      LEGAL STANDARD

       Summary judgment is appropriate where “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); see Fed. R. Civ. P. 56(c); Strickland

v. Norfolk S. Ry. Co., 692 F.3d 1151, 1154 (11th Cir. 2012).2 Facts are only material when their



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  “When evaluating cross-motions for summary judgment, the Court analyzes each individual
motion on its own merits and thus views the facts on each motion in the light most favorable to
the respective nonmovant.” Adega v. State Farm Fire & Cas. Ins. Co., No. 07-20696-CIV, 2009
WL 3387689, at *3 (S.D. Fla. Oct. 16, 2009).

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resolution will affect the outcome of the lawsuit. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). As explained herein, there are no genuine disputes of material fact with respect to

Plaintiff’s NVRA claim and Plaintiff is entitled to summary judgment as a matter of law.

                                            ARGUMENT

         Plaintiff GBM’s NVRA claim raises a straightforward question of statutory interpretation.

Under the NVRA, Alabama’s State Form must “include a statement that . . . specifies each

eligibility requirement (including citizenship).” 52 U.S.C. § 20508(b)(2); see also 52 U.S.C.

§ 20505(a)(2) (stating that “a State may develop and use a mail voter registration form that meets

all of the criteria . . . [of] 52 U.S.C. § 20508(b)”). As this Court has noted, “‘[s]pecify’ is defined

in BLACK’S LAW DICTIONARY as ‘to mention specifically; to state in full and explicit terms; to

point out; to tell or state precisely or in detail; to particularize; or to distinguish by words one thing

from another.’” Doc. 178 at 21 (quoting BLACK’S LAW DICTIONARY (6th ed. 1990)). But Alabama

does not state in full and explicit terms its eligibility requirement related to felony convictions.

Under Alabama law, only certain felony convictions are disqualifying. And while the State Form

mentions the existence of “disqualifying felonies,” it does not specify. Accordingly, because

Defendant Merrill has violated and will continue to violate the NVRA, this Court should grant

Plaintiff GBM summary judgment on Count 18.

    I.      Alabama’s Vague Reference to “Disqualifying Felonies” Does Not Satisfy the
            Plain Meaning of the Statute.

         “It is well established that, when the statutory language is plain, [federal courts] must

enforce it according to its terms.” Jimenez v. Quarterman, 555 U.S. 113, 118 (2009); see also

Hartford Underwriters Ins. Co. v. Union Planters Bank, N.A., 530 U.S. 1, 6 (2000); Doc. 178 at

20. In other words, where the language of a statute “is ‘unambiguous,’ ‘[the] inquiry begins with

the statutory text, and ends there as well.’” Nat’l Ass’n of Mfrs. v. Dep’t of Def., 138 S. Ct. 617,

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631 (2018) (quoting BedRoc Limited, LLC v. United States, 541 U.S. 176, 183 (2004) (plurality

opinion)). And “[i]n interpreting the language of a statute, [courts] generally give the words used

their ordinary meaning.” In re Griffith, 206 F.3d 1389, 1393 (11th Cir. 2000) (quoting Moskal v.

United States, 498 U.S. 103, 108 (1990)) (internal quotation marks omitted); see also Bostock v.

Clayton County, Ga., 140 S.Ct. 1731, 1738-39, 1754 (2020).

        The NVRA provides that any state-issued mail-in voter registration form used to register

voters for federal elections “shall include a statement that . . . specifies each eligibility requirement

(including citizenship).” 52 U.S.C. § 20508(b)(2)(A) (emphasis added). The meaning of this

command—to specify eligibility requirements—is plain and unambiguous. It requires a State to

not merely reference the existence of eligibility requirements—i.e., “disqualifying felonies”—but

inform the reader of the specific eligibility requirements that apply. When Congress uses the word

“specify,” it means “to name or state explicitly or in detail.” Kucana v. Holder, 558 U.S. 233, 243

n.10 (2010) (quoting WEBSTER’S NEW COLLEGIATE DICTIONARY 1116 (1974)); see also Doc. 178

at 21 (collecting similar definitions of “specify” such as “to mention or name in a specific or

explicit manner,” and “to give a specific character or application to”).

        The State Form does not “specify” the voter eligibility requirement related to felony

convictions in Alabama. Indeed, Defendants’ position that the State Form satisfies the NVRA by

obliquely referring to “disqualifying felon[ies]”—when in fact there are 46 specific disqualifying

felonies and all other felonies are not disqualifying—is foreclosed by the plain meaning of the

word “specify.” As the Supreme Court has explained, “marginally ambiguous” language does not

suffice to “specify” something. Kucana, 558 U.S. at 243 n.10 (internal quotation omitted). And

“disqualifying felonies” is not a “marginally ambiguous” phrase; it is wholly ambiguous. A reader

could not even begin to guess which felonies are disqualifying based on the State Form. Indeed,



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given the lack of additional specifications, a reader could reasonably interpret the word

“disqualifying” to be describing felonies as disqualifying rather than modifying the term felonies

to indicate that only a discrete set of felonies is disqualifying. This is not a marginal point: most

felony convictions in Alabama are not disqualifying, see Ala. Code § 17-3-30.1(c), and most

people with felony convictions in Alabama are not disqualified due to their criminal records, see

Ex. 8 (Smith Report) at 22 & tbl.1 (concluding that less than forty percent of people with felony

convictions have disqualifying convictions).

        Although the State Form provides people notice that there is an eligibility requirement

generally related to felony status, it does not specify what that eligibility requirement is. This stands

in contrast to the Form’s specification of citizenship, residency, and age eligibility requirements.

The Form specifies these requirements by providing that one must “[b]e a citizen of the United

States,” “[l]ive in Alabama,” and “[b]e at least 18 years of age on or before election day.” Ex. 7

(2019 State Form) at 1. The Form would violate the NVRA if it instead provided that one must

“not be disqualified by reason of country of citizenship,” “not be disqualified by reason of state of

residency,” or “not be of a disqualifying age.” Like the current statement regarding disqualifying

felonies, these statements would provide notice that citizenship, residency, and age eligibility

requirements existed, but they would not specify what those requirements were. See Doc. 178 at

19 (“[T]he form does not merely state that there is a minimum age requirement, but instead

specifies that to register to vote, a person must be at least 18 years of age on or before Election




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Day.”).3 The NVRA requires that the actual eligibility requirements be specified,4 not merely that

the subject matter of those requirements be listed.

    II.      The NVRA’s Structure, Purpose, and Legislative History Support Its Plain
             Meaning.

          The plain meaning of 52 U.S.C. § 20508(b)(2)(A) is reinforced by the structure, purpose,

and legislative history of the statute. The mandate that States provide accurate and specific

information to prospective voters about voter eligibility requirements runs throughout the NVRA.

This fundamental prerequisite to a functional voter registration system is included in every

provision related to the various avenues of registration established by the Act as well as in the

general provision governing the responsibilities of states under the Act.

          Like mail registrations, which are governed by 52 U.S.C. § 20508(b)(2)(A), voter

registration applications completed through a State’s motor vehicle agency must “include a

statement that . . . states each eligibility requirement.” 52 U.S.C. § 20504(c)(2)(C). And, again,



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  Notably, before the State realized that the NVRA actually does use the term “specify,” it
suggested that the term’s alleged absence was meaningful because if “Congress intended the forms
to ‘specify’ eligibility requirements, Congress would have used a world like ‘describe,’ ‘explain,’
‘detail,’ or ‘specify.’” Doc. 95 at 21. In other words, the State’s own definition of specify “supports
the Plaintiffs’ interpretation that specify means more than what the State has included on its form.”
Doc. 178 at 21.
4
  Despite Defendants’ assertion to the contrary, this would not require the State to list every out-
of-state or federal conviction that falls under the Felony Voter Disqualification Act’s catchall
provision. Alabama’s voter eligibility requirements include a set of Alabama convictions that are
disqualifying and a catchall provision to encompass convictions in other jurisdictions “which, if
committed in [Alabama] would constitute” one of the specified convictions. Ala. Code. § 17-3-
30.1(c)(48). That “aspect of the eligibility requirement [could] be placed on the form,” Doc. 178
at 24, by including all of the named disqualifying convictions and this catchall provision as well.
By doing so, the Form would “specify” the eligibility requirements outlined in Alabama law even
if it did not “interpret” the requirement as applied to various factual scenarios. Voters would have
all the information in the law available to assess their eligibility. In any event, Defendants’
argument proves too much. If the catchall provision is not specific enough to advise voters of the
eligibility requirements and allow them to assess their eligibility, it raises much more serious
constitutional concerns.
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with respect to voter registration at designated agencies, the forms used must “specif[y] each

eligibility requirement (including citizenship.)” Id. § 20506(a)(6)(A)(i)(I); see also id. §

20506(a)(6)(A)(ii) (allowing use of an agency-created form so long as it meets the requirements

of § 20508(b)). Finally, the NVRA restates in § 20507 the general requirement that States “inform”

applicants that apply through the various means of registration of the “voter eligibility

requirements.” Id. § 20507(a)(5).

       The reason for these exhaustive provisions is obvious on its face. In order to create a

functional voter registration system that “promote[s] the exercise of [the fundamental] right [to

vote],” id. § 20501(a)(2), potential voters need to be able to easily assess their eligibility when

using the various avenues for registration provided by the NVRA. Providing ample access to voter

registration—the primary goal of the NVRA’s provisions—is relatively useless if voters using

those avenues are not able to determine whether they are eligible to register.

       The legislative history of the Act confirms the importance of these requirements to the

overall scheme of facilitating several avenues of registration through mail-in forms and various

public service agencies. In both the House and Senate reports for the NVRA, Congress noted the

importance that every applicant “be advised of the voting requirements and the need to decline to

register if he or she does not meet the requirements,” and explained that “[t]he bill provides that

all registration requirements should be set forth in the application to register to vote so that they

will be readily available for each applicant to review during the application process.” S. Rep. No.

103-6, at 24 (1993); H.R. Rep. No. 103-9, at 7-8 (1993) (similar).5 The reports also noted the



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  As both this legislative history and the provisions regarding registration at agencies indicate,
merely including a link to the State’s website does not satisfy the NVRA’s standard. After all,
someone seeking to register to vote while at a motor vehicle agency or other government agency
may have no access to the Internet at the time, defeating the purpose of allowing registration in
those locations. In any event, the NVRA was passed in 1993, before the Internet existed; it clearly
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importance of the voter eligibility specifications to maintaining accurate lists of only eligible voters

and preventing fraud. S. Rep. No. 103-6, at 11 (“Under the provisions of this bill, every application

for voter registration must include a statement that sets forth all the requirements for eligibility,

including citizenship, and requires that the applicant sign an attestation clause, under penalty of

perjury, that the applicant meets those requirements.”); H.R. Rep. No. 103-9, at 8 (similar).

       Finally, and importantly in this case, both reports note that the requirement of specific

eligibility requirements on all registration forms allows the potential voter to determine privately

their eligibility from the face of the application without disclosing personal private information,

such as past criminal convictions. H.R. Rep. No. 103-9, at 7-8 (“Since some of the reasons for

declining to register to vote may involve matters of personal privacy, such as ineligibility under

State law due to mental incompetence or a criminal conviction, an individual who declines to

register to vote shall not be questioned as to the reasons for such action.”); S. Rep. No. 103-6, at

24 (same).

       Congress included the numerous provisions requiring states to specify eligibility

requirements on all registration forms to ease voting access by allowing voters to assess their

eligibility at the point of potential registration—whether it be at a voter registration drive, a motor

vehicles department, or another public interest agency. But, simply put, the State Form does not

allow people with past convictions to do that. The language on the State Form does not provide

the key information necessary for a prospective voter with a past felony conviction to assess his

or her eligibility at the point of registration. Defendants do not argue otherwise.




did not contemplate that states could specify eligibility requirements by pointing potential voters
to a website instead of specifying the requirements on the registration forms themselves.
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        Congress indicated that another purpose of these provisions was to ensure that only eligible

voters register to vote. By failing to provide enough information for voters to assess their

eligibility, the Form also undermines this goal. The legislative history also indicates that Congress

was sensitive to the privacy concerns associated with past convictions, and by requiring written

qualifications, sought to avoid potential voters having to disclose that information to determine

eligibility. On this count, too, the Form also fails.

        These provisions also serve another function. They ensure that agencies that do not focus

on elections can fulfill their own voter registration duties under the NVRA. The NVRA strictly

and unambiguously requires that agencies conducting voter registration provide “the same degree

of assistance with regard to the completion of the registration application form as is provided by

the office with regard to the completion of its own forms.” 52 U.S.C. § 20506(a)(6)(C); see also

United States v. Louisiana, 196 F. Supp. 3d 612, 673 (M.D. La. 2016) (“[I]n light of the NVRA’s

plainness, this Court reads Section 7 to prescribe strict compliance with its commands, finding no

support for any other standard in the NVRA’s plain and unambiguous language.”), vacated

because of settlement, No. 11-CV-470, 2017 WL 4118969 (M.D. La. Aug. 21, 2017).

        As the statements of representatives of several such agencies make clear, however, the

Alabama Secretary of State has provided no guidance to agencies on how to assess whether a

prospective voter is disqualified due to felony conviction. See Ex. 9 (Deposition of Chief Deena

Pregno, Alabama Law Enforcement Agency) at 41:9-11 (“We did not receive any information

from the Secretary of State’s Office.”); see also Ex. 10 (Medicaid Resp. to Subpoena) at 2 (finding

that the agency had “no responsive documents” regarding what crimes are disqualifying for voter

registration). As a result, agencies do not assist potential voters with past convictions in assessing

their eligibility. Ex. 9 at 27:9-11 (“We tell them we don’t have that information [about voter



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eligibility], they need to contact the voter registration office.”). This does not meet the NVRA

standard of providing “the same degree of assistance . . . as is provided by the office with regard

to the completion of its own forms.” 52 U.S.C. § 20506(a)(6)(C). If the Form itself provided

adequate eligibility information, this shortcoming in NVRA compliance would be largely resolved.

       Finally, the current instructions on the State Form undermine the overall goals of the

NVRA:

       (1)     to establish procedures that will increase the number of eligible citizens who
       register to vote in elections for Federal office;
       (2)     to make it possible for Federal, State, and local governments to implement
       this chapter in a manner that enhances the participation of eligible citizens as voters
       in elections for Federal office;
       (3)     to protect the integrity of the electoral process; and
       (4)     to ensure that accurate and current voter registration rolls are maintained.

52 U.S.C. § 20501(b). By providing ambiguous and incomplete information about eligibility

requirements, the instructions will both dissuade eligible voters from registering and undermine

the effectiveness of the perjury attestation as a means to ensure that ineligible individuals are not

registered.

                                         CONCLUSION

       Plaintiff’s NVRA claim raises a straightforward question of statutory interpretation. There

are no disputed facts material to that question. The NVRA’s requirement is plain and

unambiguous. Alabama must specify its voter eligibility requirements on its voter registration

form, and its oblique reference to “disqualifying felonies” does not do so. This Court should grant

Plaintiff GBM summary judgment on Count 18.

                                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 2, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record as listed below.


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